Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 1 of 20 PAGEID #: 164

opo3a - ggfaniatn County Ohio Clerk of Courts of the Common Pleas. 2017 Dec 14 2:43 PM-17CV011000

IN FRANKLIN COUNTY COURT af COMMON PLEAS
CIVIL DIVISION
473 SOUTH HIGH STREET
COLUMBUS , CHIIO 43218

RALPH A, APPLEGATE

1544 ZN TTURR ROAD
SOLUMBUS ,OHIO 43227
Plaintift
Case No,
Versus CIVIL ACTION

DEMAND FOR JURY TRIAL

MONSANTO COMPANY

800 NOR TH LINDBERG BLVO

ST, LOUIS , MISSOURI , 63167

Defendant

COMPLAINT
PARTIES

1, PlaintiPf is age 85 , bag bean a gardener, and Isa cltizen of Columbus ,Ohio,
Plaintiff purchased Roundup at Lowe's , 3616 Bast Broad Stroot , Columbos , Ohio ,
43223 , shortly before ualng Roundup at Plainuift's residence. Plalotlff became alek from
Roundup , February 18, 2009 , beoause Plaintiff had boon exposod to Roundup about 4.5
months prlor to February 18, 2009, Including from carly October, 2008 until Pebruary 18. 2008
, Plaintiff was exposed at 1544 Zettler Road . Columbus , Ohio , 43227 to full stronpth segistorod
Roundup , including {is surfactant ingtodient polyothoxylated (allow amine, Plalntit?, tn October
. 2008 jused Roundup by Inserting a toothbrush into full strength Roundup and thon imsorling that

roothbrash full of Roundup into living cut stalks of bamboo, on an aroa of about 5 feet hy 35 fest

, That bamboo dled vary quickly afer Plalnti{( inserted Roundup into it .
pl
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 2 of 20 PAGEID #: 165

G Cc 42: ‘
opea8 - ad faniain County Ohio Clerk of Courts of the Common Pleas 2017 Dec 14 2:43 PM-17CV011000

2 ,On or about March 9 , 2009 , Dr. Sandra Pinkham , Columbug , Ohlo Toxrcologist ,
and Physician , exarninud Plainilfi's blood on a mioroaoope , and found that“ Ralph , (never
bofore this In my life ever saw any blood like this ©

3, On ot about May 9 , 2009 , Ds, Craig Hofineister , Oneclogist . Janos Cancer Center ,
Columbus ,Ohio, diagnosed Plaintiff with Waldenstrum’s Macroglohulinenta a very rare Non
Hodgkins Lymphoma . Plalntrff suffered , and still suffers effects attendant thereto , as a direct
and proximate result of unreasonably dangorous and wrongful nature of Roundup , and
Dofondant’s wrongful and negligent conduct in reseatoh , development , testing , manufacture ,
production , promotion , distibution , marketing , and sale of Roundup,

4, Asa direot and proximate rosult of these infaries , Plaintn has inourred already
modioal expenses of about $1, 800,000, , and will continue to Incur future medical expenses , has
jodured and will continue to endure pain and suflering and logs of onjoyment of We , and
Plaintiff has been damaged , personally.

5, During (ime that Plat! was exposed to Roundup hn 2008, Plaintif f did wot know
that exposure to Roundup and its other ingredients was Injurious to his health or health of others ,
amd that as lave as Soplomber 22, 2017 at 1L45 p.m, , Plaintiff did not know of {ull extent of
Roundup damages other than a March 20, 2015 clalin of World Qealth Organization that“
Glyphosate was classified probably carctnogonis to humans“. thelr conclusion World I lealth
Organization Ly not known to Plaintiff to have slated any basis whatsoever in World Mealth
Organization’ report , or not, for tts conclusion ‘Therefore Malnthff doos , or does not , rely on

that report
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 3 of 20 PAGEID #: 166

Franklin Gounty Ohio Clerk of Courts of the Common Pleas: 2017 Dec 14 2:43 PM-17CV011000
0D938 ~ G39

Plaintif(relys on fact that 91 Couples , 62 Maintttf*s la “Harley “ , United States District Court
Northern District of Culllornia Case No, dL 7eov~03750 , of 86 Plainti{('s , were exposed to and
were diagnosed i various districts with Non Uodgking 1 yiaphoma as proof for a Directed
Verdiol , Plainliffis roforring to * Individual causation °, “Individual causatlon “ refers to
whether a partloular individual suffers from a partioular allment as a rosult of exposure Lo a
substance ,” In Plahateti"s and in 62 marrled Plalnilffs , not forgetting those 24 other single
Plaintiff's in Harley “ U,5.D.0, , Northern District of Califormla , MDL Case No. O2741 “VC,
Plaintiff is referring to these RO , plus one, Plainti(’s . Plaintl{f Applegate , as those Plainti((’s
wha were particular individuals who suffered from a particular rare allinent(NHL)as a result of
expasure to Roundup. And decision as (o causation is related to “individual causation “, Except
it. this oso , Plaintiff Applegate's ailment , Waldenswrom’s Macoglobulinemia , is slightly .
apparently , somewhat moro rare than those who have Non Hodgkins Lymphoma . Plaintiff does
nol know anything , In detall , more , about those other about 837 Plalnnff’s w those £0 other
oases iin MID 02741 -VC, Plaintiff has not soon thase Doubstt's ,

6, Defondant Monsanto Company( Monsanto yi a Delaware Corporation with its
headquarters and prmeolpal plave of business in St, Louis , Missouri On information and belicf;,
important scientific, manufaoturing , marketing ,ealos , and other business decisions regarding
Roundup wore made from and in state of Missourl, At all thnes relevant to this complaint ,
Monsanto was an entity that discovered herbicidal properties of glyphosate , and earlactant
polyethoxylated tallowamine , ag well as adjuvants and inert Ingredients , in time to begin
manufacturing Roundup before 1974 .

pa
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 4 of 20 PAGEID #: 167

Frantdin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM 7GV011000
opose - ad ganiain ounty 0

JURISDICTION

7, ‘This Court has subloct mattor jurisdiction pursuant to 28 U.8.C, Chapter 1332
Plaintiff seeks damages in excess of $15000, exclusive of Interest and costs

8, This Court has personal jurisdiction over Monsanto who Is authorized and
Heensed to conduct business in and from state of Ohio , maintains and carrlos on systematle and
continnons contacts In this judicial dlswict , regularly @ansacts businwas witht this judiclal
istrict. and regularly avails tself of bonefits ofthis judicial district , as well as all othor slatos of

~ our United States, This Court also has personal jurisdiction pursuant to Franklin County Ohic
Common Pleas Court Rule 33.12, Monsanta was conducting business in Ohio at time of
Plaintifi’s Roundap exposure . in Octobor , 2008,

9, Monsanto caused tortlous Injury by acts and omisalony In this Judicial distriet and
vangead tortious injury in this distelot by acts and ontissions outside this distrlet while regularly
doing and solleiting business . engaying in a persistent course of conduct, and deriving
substantial revenne thom goods usod or consumed and services rendered in this judicial district ,
Monsanto consents to negotiate and be sued in Ohio .

YENOE

10, Vere is proper before tha Court pursuant to 28 US, C, Chapter 1391 because a

subatantlal part of events ar omissions giving rise ro this claim ocurred within this distelot
11 Plaintiff, residing at 1544 Zettler Road, Columbus Ohio , 17 used , and was 1"
exposed at that address and injured by Ruundup by wrongtd aots and wrongfal conduct by

Monsanto

p.4
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 5 of 20 PAGEID #: 168

Franklin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17GV011000.

OD936 - GAl

STATUTE of LIMITATIONS

12, Plaintiff did not learn of any early fact that would toll statute of limitations In
Ohio exvept that Plainti(P observed on Intornet on Septomber 22, 2017, ab LL:45 pan. , that
World Health Organization had conehuled that “ Glyphosate was classified probably
carainogonte to humans *, Inportant word is “probably ©, Plaintiff has not, yet. observed , any
basis , whatsoever . slated by World Health Organization proving , or by any other so claimed
expert , that “Clyphosate was classitied probably carginogenie to humans “ because of
disagreement of said solentitf's , Further , Plaintlff ls claiming , that Glyphosate is
one ingredient in formulation of Roundup thar bas caused Waldenstrom's Macroglobulincmia .
vory rate Non Hodgkins Lyniphoma, Plaintlff is clalining that Plaluthff know or toasonably
should have known that Roundup caused Non Hodgkins Lymphoma by Soptember 22, 2017,
11:45 p.m. but not earllor. History of study of Roundup is so contradictory that truth had not
been known oul now ds Known ,by 2017, even though Plaintiff claims that 31 oonples , 62
Plaintiff's in Sarvey ° wore proven to have contracted Non Hodgkins Lymphoma trom
Roundup.

LUISTORICAL FACTS ARK A WEAPON

13, Avuera , a Florida Native Amorican spoaking to discoverer DeSoto , in 1524. “Man

who has 4 quattal with his neighbor must choose his weapon.” History of English Law I, 2"

Edition 1898 , pp. S61, 564

14 In 1964 , glyphosate was patentod as a doscaling agent for industrial botlers , those

. large ones manufactured by Babcook and Wileox, an Ohio boiler maker , Plaintit? was a 1960
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 6 of 20 PAGEID #: 169

F inc Ohio Clerk of Courts of the Common Pleag- 2017 Dec 14 2:43 PM-17CV011000
op93e ~ ad ganidtin ounty Ohio Clerk o e 04

entplayeo of them , due to glyphosate’s ability to combine with , and thus strip . mlueals ,
United States Hnvizonmontal Protection Agency was formod on December 2, 1970 by
President Richaed VM. Nixon Morwanto introduced glyphosate ag a herbielde in 1970's ,
Thoroafter , Monsanto Captured EVA (And twisted soience)to keep glyphosate on our market.
Valetle Brown and BHzabeth Grossman , “In These Times“ , November | , 2017 Plaintiff bas
insufficient loglatio capability , himself. to file these documents .

15, Deaths have doubled of Non Hodgkins Lymphoma from 1975 (o 2017 , but Plointitt
had not been advised before 2017 of thia fact by anyone, Thus , tisk odds have also doubled
trom 1973 to 2017. Plaintiff handled Roundup for more than 7 days in a row, in October 2008 ,
maybe 30 days, Plainti{t with Waldenstrom's Macroglobullnemia has a higher isk now In 2017
than Plaintiff had in 2008 when Plaloilff was 1“ exposed to Roundup . Plaintiff had not been
expogod to any other horbicide /pesticide than Roundup prior to 2008 or aftor . Plaintitf had beon
advisod by Dr, Furman, io 2010 that Waklenatrom’s was very rate. Although Dr, Furman knew
Plainthff used Roundup , Farman did not adviso that Roundup was at fault .

16, Plaintiff Anthony Jackson MeCall of a farm ty Cambria , Callfornia , ln
California Case No, 2:16-cv-01609 , purchased Roundup in California avor a potlod of 26 yoars
from 1989 until 2015 , was exposed to Roundup over (hal satne 26 years. but. did not learn of
contracting Non Hodgkins Lymphoma until September , 2015 , MoCall’s dog died 9 years botore
MoCall did ,and MoCall died several months later on Decomber 26 , 2015, One of MeCall’s
claims was Fraud. Bnough is eaough .

17. Roundup had a clear and signifivant risk when used for its intended purpose and’ .

causes rate Non Hodgldns Lymphoma side affects .
pb
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 7 of 20 PAGEID #: 170

Cc 2 ! p
pose ~ qa fantdin County Ohio Clerk of Courts of he Common Pleas- 2017 Deo 14 2:43 PM-17CV011000

18, Donne Farmer, Monsanto etnployee , Ina 1999 secret internal e-mail , publicly
released by Mederal Diatelot Judge Vince Chabbria in 2017. which Platoliff had not known of of
reasonably should havo known of until at loast Septembor 22, 2017 at 11:45 p,m, stated ‘1 wall
not sappart doing any studies on glyphosate formladions oe other surfactant ingredients at this
time with limited information we have on this situation .”

19, Tn anothor sooret intemal e-mail of April 25 , 2002 , at 10:47 a.m. .” Bill ¥ Heydens ,
Monsanto employee , slated Lo employee Donna Farmer Your layt comment hits exactly where
Tam coming fiom, We disonssed that shuation with Golson and Desesso and concluded , not
surprisingly , that we are in pretty good shape with glyphosate but vulnerable with surfactants .
What I've been hearing (torn you ts thal this continues to be thut use with these studies -
glyphosate is OK , but formulated product (And thus that surfactant )does damage . We had 4
lowerlsk strategy to generically deal with that issue but couldn’t implement it for budgetary
reasons , In moantine studies with endocrine / repro endpoints keep coming , so we should
revistt that Issue. Car we seale back a repro study to make it budgetarily palatable ? Is there
something loss expensive we can do 7 Oy do we stand pat and take our lumps as (hey vor ?
Unforlunately , we do not get to choose what gots diguified outside our 4 walls and what dosn't
(Which Defendant employees above 4 walled employees Bill Heydens and Donna Parmer were
overseelng these disensslong , was it Monsanto Board 7) Wo had a close call vis-a-vig in
mutagentolty /European Onlon review a couple years ago. If we again dovide lo stay thal course ,
L-wanl this 10 bo a well-ronsoncd , conselous and documented decision . “

20, Defendant offielals higher up continued using polysthoxylated tallow amune ia

Roundup until very zecontly , exact date Is not known,
p.7
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 8 of 20 PAGEID #: 171

‘e t . ‘ a
op93a - &@ Fy anklin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17CV011000

21 ,.0n March 22, 2003 in another Monsanto scoret internal e-mail to other unstatod
employees Ms, Donna Farmer, an employee and a Monsanto Toxleologist sisted * You cannot
say that Roundup ts not a catolnogen .” a materlal fact, Farmer also stated “We( Monsanto have
not done necessary teatiny on its formulation to make that statement.” In another 2003 e-mail,
Saturday, November 22, 2003 , 4:46 p.m, from Donna R. farmer to Sekhar Natarajan, of a
foreign country , stated * We oan infer that there 1s uo reason, to bellove that Roundup would
uauae dance, Donna Parmer olted no basis for this , axtothor claim. Inference is not acceptable
whon lives are to be considered ,

22, A paper in 2007 by sclontist J, M. Beausoh ,ot . al , address not stated , slated “ All
polyethoxylated tallow amines were Lound to be extremely toxic .”

23 , In 4 2008 presentation , Monsanto titled Its presentation “ Monsantos Roundup sets
on one of key stages of cellular division , which oan potuntially lead ta cancer th Its long term. “
24, Contrarily to claims by others exposed to Roundup , this Plaintiff purchased

Roundup in early October , 2008 , was directly exposed ta Roundup only about S montha wot)
Febiuary 18 2009 , Plaintiff may have inhaled it, and this Plaintiff was diagnosed by
Oncologist Craig Hothnelster on or about May 9, 2009 with Waldenstyan’s Macroglobuilnemia ,
a rare Non Hodgkins Lymphoma. Oncologist Richard R. Furman placed this Plainthif on two(2)
wlals , ono of just Plaintiff on a trial oalled ThRil , which Included Revlimid , and Plaintiff,
thersafler , reached an Iinmunoglobulin((GM) level considered acoeptable at an average number
of 1250, compared to a number of 438 , oalled normal, Plaintiff is not clasal fied as “in

remission,”

245 , In another secret internal e-mail of 2010, Stephen Adams , Monsanto employee
ps
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 9 of 20 PAGEID #: 172

op93a - ftanidin County Ohio Clerk of Courts of the Common Pleas- 2017 Deo 14 2:43 PM-17CV011000

Chomistry Rogulatory Affalrs Manager stated * With regards to carcinogenecity af our
formulations we don’! have such testing on thera directly .” Meaning Monsanto may , of not
learn from others

96, Dt, Richard R. Furman claimed in 2010 that Plaintiff was his worse pallont because
Furman had not seen another pationt with an IGM level of 11000 , units not stated. It was a
bollof that it was Revlimid which was effective,

27. Novertheloss , there is no ovidonoe known to Plamtiff with respect to when
other unknown alek persons exposed o Roundup will soon learn of cancer , or not

2%, In another secret internal exnall , of 2013 , Navier Belvaux , Monsanto employee
Regulatory Affairs Load , staled and confiemed thar“ We(Monsanto) do not conduct eub-chronic
,ohtontc, or terotogentalty studies with our (Roun) forraulations , “

29 . In anothor 2014 sooret internal email , De, William F, Heydons , Monsanto's Head of
Product Safety , before International Agency for Research on Cancor evalaation of Glyphosate
which aniouncud lator in 2015 that Glyphosate is a probable carcmugen , stated that‘ While we
have vulnerability in avea of epidemiology , we also have potential vulnerabilities {n other areas
Internatlonal Agency for Rosearch on Cancer will considor, namoly exposure . gonolox , and
mode of action.” No evidency , either , has been asked for or has been produced proving that
Heydens was sanctioned , or not, suggesting that higher up Dofondants agreed with Ueydens ,

30, Defendant slated , on or after about April , 2014 . also when not exactly stated , that
Monsanto bad alveady been prepartig for a gradual transition away flom polyethoxylated tallow
amino to other typos of surfactants for commerolal roasons * , without identitying those reasons ,

as muuch as Monsanto admitting that Roundup . Inoluding surfactant polyothoxylated tallow
po
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 10 of 20 PAGEID #: 173

Franklin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17CV011000
0D938 ~ GAG

nniing , wag known hn or before 2014 to have beon a causo of Non Hodgkins Lymphorna .

31 .On September , 2014 , Toxleologist Jtarmer stared in another secret internal e-mail
What we havo beon concerned about has happened .“ And that “Glyphosate is on for an
International Aveney Lor Research on Cancer raview in March of 2015 ° Thus , Warmer ovas
likely expressing concern that Defendant would be discaveted falelfying about Roundup causing
Non Hodgkins Lymphoma. No ovidenve has boen asked for or produced thut Farmer was
sanctioned , or not.

32 . In another intemal e-mail of 20148, Willlam F, Heyden admitted to ° Low lovol
preaenco of formaldobydo * (Carcinogen by inhalation)in Roundup , end ® Low lovel presenco of
NNG(N-nltroso-glyphosatey” in Roundup . Many N-Nitroso compounds are carcinogenic .

33, Intormally , Heyden and Farmot hed Roundup disonssions, but when aller that last
2014 email not stated . Donna Tarmer acknowledged " Interest pote is glyphosate all basically
had no effoot that formulated product{Roundup)did , and asked » Does this point us ta
cofornmulants-eucfactants 7 * Defendants sold Roundup from when alter 1970 until 2015 having
polyethoxylated tallow amino as an ingredient while claiming no Lnowledge or not that that
surfactant was 2 problem ? Sumsiliny recently Defendant claimed ut xemoved polyethoxylated
tallow amine from Roundup , claiming ts removal was for cammerotal reasons , Defendant still
in 2017 objects ia ordered warnings .

34, In another secret Internal e-mail , also , when not stated , Donna Farmor summarized
Monsanto's claimed expert, Dr, James Parry’s conclusions * Dr, Parry consluded on hie
evaluation of Four(4) articles that glyphosute is capable of producing genotoxtolty both in vivo

and in vitvo by a mechanism based upon production of oxidative damago .”
pla
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 11 of 20 PAGEID #: 174

cl . 43 PM
op93e ~ @qnantain County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17CV0711000

38, Jn another secret 2015 internal eanall , Heydens stated “ Surfactant in formulation
will come up in tumor promotion skin study because we think it playod a tole havo.“ Obviously
thoro are more secrets that will be discovered . Plaintift’s lack uf koowledge of more secrets does
nat excuse Defendants .

46 Plaindff revalls , but, Plainti{f can not find a Defendant staremunt made in about
Apel , 2016, that Defendant bad then abandoned polyethoxylaled vallow amine . but, exactly
when not stated, Thug , Defondant had abandoned polyethoxyleted tallow amine but too lato to
have stopped Defendant from daraaging Plaintiff who contracted NET in 2009 |

37, In’ Harloy “, 2017 Callfornla Case No, 31 7-cv-03750 ,62 Plaintiff's xmeaning 31
couples out of 86 Plaintiff's , were oxposed to Roundup , and oach was diagnosed with a Non
Hodgkins Lymophoma by Onoologlsys , end this Paint had asked that Court by Interventng
Motlon of Octoberl0 , Novormbor 7 , and now Decembor 4, 2017 to rulo against Defondants
booanso that evidence , alone . is sufficient to rule that nothing else than Roundup had caused
thosg Plaintit’s to have gotton NonHodgkins Lymphoma Common knowlodge jurors understand
this and could effectively tule against Dollondant tn a fury trial, Enough is enongh Lf Plant? is
oorrect that Defendant Linally decided that tt was polyothoxylated tallow amine which in that
Roundup formulation was what caused Non Hodgkins Lymphoma it could be concluded that was
dofondanis season recontly for removing polyethoxylated tallow amine from its now Roundup
formulation . A request of Defendant to identify Delondants roplacoment sarfactant is necessary.
Plaintiff does not reverse his lnterventng motion .

38 , In Oolober 27, 2017, after 8 witnesses were doposed , in Harvey “, and had

pal
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 12 of 20 PAGEID #: 175

op938 - od ganitin County Ohlo Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17GV011000

sasentially agreed that “ Roundup causes NHL *, Plaintiff's lawyers clalmed that “ There is
ovotwholming evidence -whethier it be epidemiology , toxicology , or mochanistic data - that
exposure (0 glyphosato based formulations oansos NEIL .” Beoanse those 8 witnesses did not cite
any basis , whatsoever , for thelr cunohisions , Plalnttf states that those unnamed basis aro a
royuitoment in conclusions reachod in any study or in any problom solving , whatsaever ,

49 , Somme Ruropean governments have already begun . slnoe when , taking action against
polyethoxylated tallow amine .“ One surfaotant in particular ts drawing heavy criticism.
Palyothoxylated tallowamine is likely vory toxic to humans , animals , and environment .

But Buropean Union has fabled 10 take any action , whatsoever , as far aa is known ,” This ls
confusing , Marth Housing , member of Groons/European Free Alliance Group says “ Civen
alouming results of independent studios , this is simply shocking , Bven though [Martin Hausing)
have been ctlticising Buropean Mood and Safety Authority for many years because of its conflict
of Interest with agricoltural industry , 1} would bo wrong to blaroe them alone. National
authoritios play a big role in this procoss , * These oritloisms do not end .

40, Plalnulf has alveady sought by e-mail to Defendant , on more than four(4) occasions
{a 2017, to settle with this Defendant .

41, Bocause Plainti((s nol ropresonted by an etlomey , Defendant will save at least 40
perosnt of Defendants legal expenses in this lawsuit Jf Defendant soon begins settloment .

HISTORICAL FACTS ARE A WEAPON

42, Not anywhere whatsoever . had it been slated by acientists , oricologists , why studied

rats ,or otherwiso , and even Defendant , that any of those scientists , oncologists , or Defondant ,

also studied bloud of raty , 1, e. , fonk CBC’s (Complete Bloud Connts) ,of Hemoglobulin .
pla
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 13 of 20 PAGEID #: 176

Franklin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17GV011000

OD938 ~ GA9

WHC(White Blood Cells). RBC(Red Blood Cells). and IGM (immunoglobulin), a marker for
NHL , intor alia , and rogularly recorded these blowd counts . Plaintiff has 1" hand knowledge of
this need to do this study , In Oncological treatment of NAL paticnts , atter infusing another
chemical , blood ty studied by Oncologists to dolesmine if Bernoglubulian, WAC, RBC,
deoroased of increased , and TGM to detemnine if it decreased , which was an expoctation . An
inovease roight cause a change in treatment | Had those rat sclontists done those blood studies af
rats in those studies , and had they done su , should have proven , had rat 1M lnereased it was
ovidenco that rats were getting NAL This Court needs to know this . Plainthff knows this because
Plaindff went theo this process with Dr, Richard Farman , Weill-Cornoll Medival Center.
Midtown , New York , frora 2009 to at least 2013 .

43 .nvironmental Protection Agency had possessed evidence of polyuthoxylared tallow
amine’s toxicity for(many lyears , including several reports of substantial risk to buman health
and our utevironmont , One report , submitted in 1998, notod that 1000 ish died after G0 gallons
of a mixturo of chemicals including polyethoxylated tallow amine spilled Into a ditch , according
tu company responsible for apill, whose namo is redavted in thal document, “HPA iiself sald
baal La 1980's that glyphosate was Linked to Nonodhkins Lymphoma, Rarcon Cousin’s can be
checked on his clam,

44, fo was conchided in 2001, that “But, when Canadian authors assessed men with
groater (Apparently that was ascomplished in 2001?) than 2 days of glyphosate oxpasure per
year, this. in retrospect Included Plaintl(( Applogata in 2008 , Ierevealed a significant risk
doubling of NEY." pp.43 upper right/26 bottom: There were 2 pagings on this documant

Plaintitf’s "Havloy © Responso In Opposition To Monsanto Cumpany Daubert and Summary
p23
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 14 of 20 PAGEID #: 177

opos8 - G ganidin County Ohto Clerk of Courts of the Common Pleas: 2017 Dec 14 2:43 PN-17CV011000

Judgment Motlon (PROMDSIM) Aglan , this was known in 2001 but nol to PlainGiff, Plalntt?
has no knowledge , whatsoever’, of what 923: Plajoti(f’s tn“ farley “MIDI, No, 02741 know in
2001 . a question that neods to be asked and answorod .

45, In 2002 , Swedish scientists concluded that “ Uxposure tu glyphosate stlll posed
greater risk factor for NHL, when compared to other pesticides © pp . 33/86 PROMDISM

46 In 4003 , DoRoos , concluded “ A statistically slgntfioant olevatod risk hetween
glyphosate use , and NHL.” pp. 33/25 PROMDSJM

47 In September , 2014 , Seouritles and Exchange Commisslon in agceoment with
Defoudant , paid so-called anowymous Whistleblower at $22,000,000, In connection with
claimed Monsanto muldyear accounting violations , evidence of past Monsanto hyperbole .

48 , Ithad already boon known In America on or before June , 2015 , except Jar Plainttt
that There was overall almost a doubling of risk statistically siguificant Ifyou handled a
glyphosate for greater than two(?)days . “No factual statod basis for hls conclusion 1s sean by
Plainuf, but UC Plainti(’ would search thru thousands of documents that have already been
soarched by setentists named herein , Palntlffmay or not find this ovidonce ? Plaintif? alaims
Plalati(folains Plaintitf handled Roundup , but Coll strength , of which glyphosate 1s an
ingredient , in October , 2008 , for more than sevent/days ,

49 , Before October 27, 2017 , Bpldeniologist , Dr, Beate Rita using a “Bradford Bull
Criteria“, conoluded not soon enough for Plaintiff to avoid oancer , that ® To a reasonable
degreo of scientific cextalnty , glyphosate vausos NHL Furthermore , lo a reasonable solentizio

cotlainty , glyphosate based formulations .{oeluding Roundup , cause NHL . “ pp. 10/3

p.l4
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 15 of 20 PAGEID #: 178

opede - Gc fanktin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17CV011000

PROMDSJM Ithad not been stated , or not, that Dr, Ritz stated facts for a basis for this
conclusion , ar that x, Ritz had known earlier,

50, Before Cotober 27 , 2017, practicing Ongologist , Dr. Alfred Neugut , Too late far
Plaintite 's to avold canoer , using “ Bradford 1 (ill Criteria “, concluded that “ Epidemiologic and
aciontifio evidence currently available loads to a vonclusion to a reasonable degres of scientific
certainly for most export, ablective and reasonable viewers (his would he jurors), myself
included that use of glyphosate in Its vacious comblnations can cause Non Hodgkins Lymphoma
.  Nevgut also concluded * Many risk factors that(wo)iake very seriously In public health are
really at that level of 1.3 und 1.4, and even 1.2 . and we consider them significant careluogens *,
pp, 10/2 PROMDSIM No specific evidence was stated , ovon though Dr, Neugul refecred to that
word “selontlfic evidence * ag a basis for those conclusions , nor way it stated , on not, that Dr.
Nugent had known earller ,

51, Before October 27, 2017 , au animal Biovagaylst , Dr, Chelstapher Portior , too late
for Plaintiff's to avold cancer , using “Bradford Hill Caitoria “ , concluded “In my opinion ,
glyphosate probably causes NHL , and given human , animal , experimental evidence I assert
that, to areasunable degree of sclentific certalaty , probability that glyphosate causes NUT is
high,” pp. L114 PROMDSIM Again , no specific evidence was stated for this opinion , nor was
It stated . or not ,that Dr. Portier bad known this earlier, This ig [" instance where “high “ was
used ,

52. Before October 27, 2017 , an Organic Chemist , that was his employmiont , Dr,

Charles Jameson , also a tat Bloassayist , too late for Plaintiti’s to avoid cancer , using a “Weight

pis
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 16 of 20 PAGEID #: 179

Fi Ohio Cl { 5 ‘ a
op93s ~ ae geniain County Ohio Clerk of Courts of the Common Plaas- 2017 Dec 14 2:43 PM-17CV011000

of evidenve methodology “, concluded that “ ‘I's a reasonable degree of solentific corlamty that
glyphosate and glyphosate formulations are probable human caroinogen’s * , and that * Ta a
reasonable degree of yclenti{ic vertaluty that glyphosate and glyphosate formulations canse NHL
jatumans .” pp, 12/8 PROMDSIM Wo specific sctentific evidenco wag stated for thls
conclusion , nor was it stated , ar nol, that Dy, Jameson had known earlier .

53, Belare Ootober 27 , 2017 , another Lymphoma Oncologlst , Dr, Chad Nabhan . who
claims to have treated 30 Lyraphoma patients por woek in Chicago, up to 2016, , a very large
axnount , too late for Plaintiff's to avold oancor , using “Bradford Hill Criteria “, concluded that *
Weight of sorentific evidence supports cansality between Roundup, glyphosate exposure and
NHL.” pp. 12/5 PROMDSIM No specific sulentific evidence was stated for this conclusion , nor
, was it stated , or not, thal DR. Nabhan had known this earller Was it Dr, Nabhan’s knowledge
of treating 30 NAL patients por weok part of his basis for his conclusion ? Vad be discussed his
knowledge of Roundup caustog NEL with those patients ? Why had this knowledge not beet
ievealed garlior or not , by these selontists ?

44, Before October 27, 2017 , Pathologist, 12, Dennis Weisenbergor , too lave for
Plaintifl's to avold cancer, using “Bradford TLL Criteria “, concludod that “ To a reasonable
dogroe of ‘medical * certainty that glyphosate and glyphosate formulations ((ncluding Roundup)
oan cause NGL in humans exposed to these chenticals in thoir workplace or onviroument . * pp.

13/6 PROMDSJM No speclfic factual *medical * evidence was stated for this conclusion . nox

was it stated, or not that Dr, Welxenberger had known this oarlior .

55, Before October 27, 2017 , Epidemiologist , Dr, Aaron Blair , Loo late for Plaintiff's

pl
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 17 of 20 PAGEID #: 180

0D938 - G Agankdin Gounty Ohio Clerk of Courts of the Common Pleas- 2017 Deo 14 2:43 PM-17CV011000

to avoid cancer , explained at his 2017 deposition how “ He weighed totality of later studied
epidemiology studies supporting his oplnton that glyphosate is a probable carcinogen ,” pp, 13/6
PROMDSJM. No specific evidence (Sclentific studies) wore alated fur this explanation , nor how
those studies had beon explaned by their earlier authors , nor was it stated . or not, that Dr, Blalr
had known this earlier .

56 Associate Vrofessor of Vetorinary Medicine , Dr, Matthew Boss, too late for
Platoiit's to vold canoer , in agsoolation with Dr, Blair, explalned “ Why strong evidence that
glyphosate is genotoxic and causes oxidative stress are relative to carcinogentolty In bumans .
pp. [4/6 PROMDSJM No spoclfic evidence was staled for this explanation , nor how those
sides had been oxplained by thelr warller authors , nor was {¢ stated , or not, that Dr, Rosy hae

known this earlier,

47 Royardless of these condlustons /explanatlons of history of knowledge of Roundap
causing NEIL , there was a general agreement that Roundup vauses NAL , but, Plaintiff's are

only now learning of this history .
FRAUD /FRAUDULENT MISREPRUSENTA TIONS/ CONCEALMENTS

$8, Donna karrner stated in 1999 that she(And Defondants) would not study glyphosate
fonnulatlons or other ingredienta(Polyethoxylated tallow amine )to dotermine if Non Hodgkins
Lympholoma was a side affect . Defendant is continuing to concoal facts from Maintrff since
before 1999, thea 2015 , and oyon to 2017 Plaintiffis still sveking settlemont aftor Soptember .
2017 in alempt to minimize court costs . efendant continucs to show disinterest: In learning or
not that Roundup and ite ingredients was risky and caused cuncer including Non Hodgkins
Lymphoma .

pl?
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 18 of 20 PAGEID #: 181

ope38 - G fanktin County Ohio Clerk of Courts of the Common Pleas: 2017 Dec 14 2:43 PM-170V011000

59, Defendant ly estopped from relying on any particular statute of lindtaions becuse uf
Defendants intentional concealment of facts .

60. Bvon though Donna Farmer claimed thal * You can not say that Roundup is nat a
carcinogen, Defendant took no further actlan , whatsoever ,vntil somo time between 2014 and
2016 to atudy whethor or not Roundup still {s a cause of Non Hodgkins Lymphoma , and other
CANCEES ,

61, Defendant still objects to Judge Vinco Chhabrla’s judiolal order to warn even though
California govornmont( had ruled rcoonsly that Defendant rust “ warn “ within onc year, by July
201g,

62, Jaa 1“ element , Defendant concealed above facts , and others , and continues to
conceal frots , dally , matorial to Plaintiti's claim , stated by Toxtcologist Donna Farmer
histovloally recording internally thet “ You oan not say that Roundup is not a varcinogen .”
Dotina Parmer and William &, Heydeng were warning Defendant Mugh Grant from within . 1) was
Defondant Hugh Grant ct, al, of Monsanto Board who lalsified over many yeats by Defendants
* wultings *,

63 Ina 2™ element, it was Defendant who had knowlodge of Lalsity and was that person
making such representations and/or alatements that were made with such uttor disrogard and
recklessness that knowledge is inferred ,

64. Ina 3" element , Defondant intondod to lead othors into relying on those falas
representations .

65 Ina 4" cloment , Plaintift had a right ta and absolutely did so rely un those false

representations by Defendant . pis
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 19 of 20 PAGEID #: 182

0D938 ~-

ge fanudin County Ohlo Clerk of Courts of the Common Pleas- 2017 Deo 14 2:43 PM-17CV011000

a6, [0 aS” element, Platntif? was injured by relying on such falge representations by

st}

Dofendant, And , Plalntiff continues to be injured becuuse Plaintiff is not in romission “,

67, Ina 6", rather than 5 elements , Plalotlef makes a 6" claim that Delondant made false
representations of material facts , It was not nocessary that Delendant actually knew that
Defendant’s statements were flys , bul , Defendant did know that such statements were false ,
where Defendant made positive statements and clroumstanves wore such that Defendant making
those statements should have known whether guch statements were {rue or false .

RSEMPLARY DAMAGES

68 .Plalnusf incorporates herein by reference each and every claim and fact set forth in
precooding pagos as if fully stated horeln ,

69, Defendants conduct herein was done with oppression , and wulies , and hy misleading

Plaintiff, JURY TRIAL DEMAND

46, Plaintiff waves a trlal by Jury on all table questions within anless Defendant does
not agree to settle ,

RELIGE REQUESTED

71 WHERBPORE , Maintit? requests this Court ontor Judgment on its own motion La
Wamthff's favor and against Defendant , awarding Plaintiff’, Platnit{f primarily soaks damages
for modioal payments resulting from Vreatment of Waldenstrom’s Macroglobutinemla a very
rate Non Hodgkins Lymphoma , statod below ;

a. actual or vompensatory damages in such amount determined by settlement. |

b exemplary and punitive damages sufficiently punishing and deterring Defendant and

others from future faudulont misrepresentatlons .

pid
Case: 2:18-cv-00045-JLG-EPD Doc #: 5 Filed: 01/17/18 Page: 20 of 20 PAGEID #: 183
0D938 ~ GB Franklin County Ohio Clerk of Courts of the Common Pleas- 2017 Dec 14 2:43 PM-17CV011000

© pro-fudgmont and post Judgment interest
dl costs , and possible pro se foes , this was am offorl Lov Plaint lft
e any other relief this COURT may forsee

APPIDAVIT

Ralph A. Applegate , being 1 duly swom , heroby states thar stutements herein this clatm
, avo cottifiod that to bast of Plaindfi’s Lnowledge and belies, formed after an Inquiry under its
cirounstances , are (rue, Plaintit? is Gling sow because Defendant has mado no mavement ,
whatsoever , since September 22 , 2017 , to meet and attempt to sottlo Plainthil’s clalm , parlod .

aor ‘Y ? .?
»t . ‘
& wer gs ou sagan it

inet sf Meds y Cee La vi Ce ys ws
Respectfully ay nitied if
Ralph A, Applegate Plaintiff, Pro Se,
1344 Zettler Road

Cohwabus , Ohio 43227

D1 4od 1001568
rupplegatedS@pmall.cam

gh

sa we WN
Sworn to aid sabserlbed before me this sons En day of December , 2017,

® v

\; ~ '
Signed sw BAAD ANG Wea. aan
Notary Publio

My cotnmisalon expires _Novawaber dle, 208 |

oe oy A Pe,
ses passa ANS
NORE RNR TROP OND
PRANKLIN COUNTY
Carns HAG RT

peormttoves
we i,

<E
—
=

 

pnd
